  Case: 1:15-cv-01164 Document #: 265-2 Filed: 04/09/18 Page 1 of 2 PageID #:5194



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                :
MONETTE E. SACCAMENO,                           :
                                                : Case No. 1:15-cv-1164
                        Plaintiff,              :
                                                : Hon. Joan B. Gottschall
                     v.
                                                :
OCWEN LOAN SERVICING, LLC, and U.S.             : Magistrate Judge Susan E. Cox
BANK NATIONAL ASSOCIATION, as trustee for :
C-Bass Mortgage Loan Asset-Backed Certificates, :
Series 2007 RP1,                                :
                                                :
                        Defendants.             :
                                                :
                                                :

TO:    Nicholas Wooten, Esq.
       Nick Wooten, LLC
       4935 Bay Hill Drive
       Conway, AR 72034
       Tel: (334) 887-3000
       nick@nickwooten.com

  NOTICE OF DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW

       Please take notice that pursuant to Local Rule 78.1, on April 9, at 9:30 a.m., Alexander

D. Bono shall appear before the Honorable Joan B. Gottschall, in Courtroom 2325, U.S.

Courthouse, 219 S. Dearborn St., Chicago, Illinois, and shall present Defendants, Ocwen Loan

Servicing, LLC and U.S. Bank National Association, as trustee for the C-Bass Mortgage Loan

Asset-Backed Certificates, Series 2007 RP1’s Motion for Judgment As A Matter of Law.
  Case: 1:15-cv-01164 Document #: 265-2 Filed: 04/09/18 Page 2 of 2 PageID #:5195




 Dated: April 9, 2018                             By:    /s/ Lynne E. Evans

                                                  Alexander D. Bono (Fed. Bar ID 25845)
                                                  Lynne E. Evans (Fed. Bar ID 313479)
                                                  Kelly K. Huff (Fed. Bar ID 319084)
                                                  DUANE MORRIS LLP
                                                  30 South 17th Street
                                                  Philadelphia, PA 19103
                                                  Tel: (215) 979-1000

                                                  Attorneys for Defendants, Ocwen Loan
                                                  Servicing, LLC and U.S. Bank National
                                                  Association, as trustee for C-Bass Mortgage
                                                  Loan Asset-Backed Certificates, Series 2007
                                                  RP1




                                 CERTIFICATE OF SERVICE

          The undersigned certifies that on April 9, 2018, she caused the foregoing Notice of

 Motion for Judgment As A Matter of Law to be electronically filed with the Clerk of the U.S.

 District Court, using the Court’s CM/ECF system, which will send electronic notification of

 the filing to those parties who have appeared and are registered as CM/ECF participants in this

 matter. Parties may access this filing through the Court’s CM/ECF system.



                                                        /s/ Lynne E. Evans




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